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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,


         – against –                                                         No. 22-cr-405 (KAM)


 ANTHONY VILLANI,

                                     Defendant.
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          SENTENCING MEMORANDUM OF DEFENDANT ANTHONY VILLANI




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        Defendant Anthony Villani respectfully submits this sentencing memorandum in support

 of his request for a substantially below-Guidelines sentence.

 I.     INTRODUCTION
        This case has cast a pall on Anthony Villani’s life since December 2020, when his home

 was searched as part of the FBI’s investigation. The offense conduct ended then, five years ago.

 But in the last five years, the stress of this case has been eclipsed by Mr. Villani’s familial worries

 and responsibilities.




                                                                    Truly, Mr. Villani has been an

 extraordinary caretaker.

        He is just as present for his step-father who has been like a second father to Mr. Villani

 since he was just a boy. Mr. Villani’s step-father is 76 years old,                              . He

 too has benefited from Anthony’s devoted care.



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         But if Mr. Villani receives a long Guidelines sentence, they would have to. Mr. Villani’s

 parents would suffer the brunt of his sentence. Indeed, there is no one in the family to step into

 Mr. Villani’s shoes. His only sister passed away from a tragic accident in 2003 at just 35 years

 old.




         As Probation recognized, because Mr. Villani “is the primary caretaker for his elderly

 mother and stepfather,” “[a] sentence within the applicable guideline range will cause a detrimental

 loss of essential caretaking to his family members for an extended period of time.” PSR ¶ 144.

         Although Mr. Villani is the first to recognize the seriousness of his offense, and accepted

 full responsibility with his guilty plea, the realities of his life in the last five years since the offense

 conduct ended, merit significant consideration in crafting a sentence that is “sufficient but not

 greater than necessary.” 18 U.S.C. § 3553(a). Per Probation’s suggestion, Mr. Villani’s

 substantial, daily responsibilities caring for his elderly parents support a below-Guidelines

 sentence for Anthony Villani.

 II.     ANTHONY HAS SPENT A LIFETIME PRIORITIZING HIS FAMILIAL
         RESPONSIBILITIES
         A.      Anthony’s Parents Rely On Him For Their Daily Needs

                 1.      Mr. Villani Is The Primary Caretaker

         Mr. Villani grew up in a working class Italian American neighborhood in the Bronx. See

 PSR ¶ 103. Mr. Villani’s family was very much part of the working class milieu; he “was raised

 in a lower-income household in the Bronx.” PSR ¶ 104. Home life got more difficult when Mr.

 Villani’s parents divorced when he was just 7 years old. PSR ¶ 103. His mother, who supported

 Mr. Villani and his sister, “struggled to make ends meet,” for herself and her children. Ex. A,


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 Phyllis Pezzullo Ltr. at 1 (“When my children were very young, I became a single mother.”).

 Those “[t]imes were hard” for the family, and Mr. Villani began feeling the weight of his family

 responsibilities from a young age. Id.

        Even when he was still just a boy, Mr. Villani felt inspired to contribute to his family. In

 addition to attending a rigorous Catholic school where he was “always striving to do his best,”

 Anthony “[f]rom an early age, . . . showed responsibility, kindness, and a strong work ethic.” Id.

 When Mr. Villani was “just 12 years old,” he “took a job delivering groceries. He worked every

 day after school while maintaining good grades.” Id. Mr. Villani’s mother vividly recounts:

        I will never forget the day he came home with his first paycheck—his face beaming
        with pride as he said, “Mom, I’m taking you to lunch—on me.” He knew we didn’t
        have much and we never had the money to eat out, That moment perfectly captured
        the man he has become—selfless, hardworking, and devoted to family.

 Id.

        Since then, Anthony has been the mainstay of his family. And as his parents have aged,

 Anthony has taken on ever more responsibility. Anthony’s mother, Phyllis Pezzullo, is 80 years

 old, and his step-father, Anthony Pezzullo, is 76. PSR ¶ 103.

                                               See id. (“The defendant’s mother, age 80, resides in

 the Bronx, New York, and is a retired dental assistant.

                                                                                                The

 defendant is his mother’s current primary caretaker, taking her to doctors’ appointments and

 picking up her medications. . . . His mother married Anthony Pezzulo when the defendant was age

 12. Mr. Pezzulo . . . resides with the defendant’s mother                          . The defendant

 is also his stepfather’s primary caretaker, and related that neither parent has anyone else to care

 for them.”).




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        Mr. Villani’s active presence                                       was invaluable. Ms.

 Pezzullo explains




 Ex. A, Phyllis Pezzullo Ltr. at 2.

        Since she was released from the rehabilitation facility, Mr. Villani’s mother has continued

 to lean on him heavily. The transition to her new reality has been challenging.

                  Mr. Villani’s mother “was an independent woman,

                                                                                          Id. Now

 she needs her son to help with so much of daily life—Mr. Villani “has been her full-time support.”



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 Ex. A, Holly Figaro Ltr. at 2. He “is his mother’s emotional, financial, and physical support.”

 PSR ¶ 108. And he is with her “everyday or every other day.” Id.

        His mother describes Mr. Villani’s active and reliable involvement in her daily care:




                                                                                             .




         ; Ex. B, Carl Gerardi Ltr. at 1 (“Anthony also plays a crucial role in his mother’s life,



                               . She often relies on him for assistance, and her concern for his well-

 being reflects the strong bond they share.”).

        Anthony is always available to help his mother. His long term girlfriend, Holly, attests




                          Id. Anthony’s mother appreciates what he does for her. “On many

 occa[]sions,” Holly has “overheard her crying on the phone to him, telling him she thanks God for

 him every single day.” Id. Anthony’s mother tells the Court the same: “Despite his busy schedule,

 Anthony always makes time to care for me. His unwavering love and dedication mean the world

 to me.” Ex. A, Phyllis Pezzullo Ltr. at 2.



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        Anthony’s mother could not manage without him. That became clear when earlier this

 year, he “was sick and unable to visit for several days,



                                  Ex. A, Holly Figaro Ltr. at 2.



                                                                Id. Anthony’s mother knows as much,

 telling the Court: “I would be lost without him and I am truly grateful to have him as my son.” Ex.

 A, Phyllis Pezzullo Ltr. at 2.

        Prior to his passing, Anthony was equally as attentive to his father, who “died in 2013, at

 age 69, due to complications of an unsuccessful liver transplant.” PSR ¶ 103. Mr. Villani’s step-

 mother, Janice Villani recalls that:

        When his father faced serious health challenges, including needing a liver
        transplant, Anthony went above and beyond to ensure he received the best possible
        care- he is the son we all dream to have. He personally drove him back and forth to
        Boston to seek out top medical professionals and made countless trips between
        Florida and home, providing both physical and emotional support throughout the
        difficult journey. His dedication never wavered, and he handled these
        responsibilities with grace and selflessness.

 Ex. A, Janice Villani Ltr. (“My husband, Anthony Villani Sr, passed away in 2013, after years of

 fighting his courageous battle. However, Anthony still makes sure to check in on me weekly and

 always makes time for me still. His kindness, generosity, and unwavering commitment to family

 have been nothing short of remarkable.”).

        Mr. Villani’s step-father, Anthony Pezzullo, who married his mother when Mr. Villani was

 just 12 years old, similarly counts on Anthony for almost daily assistance. See PSR ¶ 103. Mr.

 Pezzullo, who is like a second father to Anthony,                                  Id.; accord Ex. A,

 Holly Figaro Ltr. at 2 (“He also supports his stepfather,

 Mr. Villani’s step-father lives with his mother in the Bronx, and Mr. Villani “is also his stepfather’s
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  primary caretaker.” PSR ¶ 103. He prioritizes having “the flexibility to be available . . . [to] his

  stepfather as needed.” PSR ¶ 108.

                 2.      No One Else in The Family Is Able to Care for Mr. Villani’s Elderly
                         Parents

         There is simply no one else in his family or support system available to care for his elderly

  mother and step-father in Mr. Villani’s absence. In 2002, Mr. Villani’s only sister Lisa died

  tragically “after falling down a flight of stairs and hitting her head.” PSR ¶ 105. She was just 35

  years old. Then too, Mr. Villani was the backbone of his family that was reeling from this tragedy.

  According to Mr. Villani’s mother, “[a]hen [she] tragically lost [her] daughter, Lisa, at 35 yrs old

  Anthony was [her] rock.” Ex. A, Phyllis Pezzullo Ltr. at 1. Anthony:

         [S]upported me through the darkest time of my life, offering comfort and strength
         when I needed it most. Even though he was going through a very hard time with
         losing his sister he was there for me and his father making all the funeral
         arrangements when me and his father couldn’t cope with the los[s] of our daughter,
         he has a mass said every year on her death anniversary and won’t let her memory
         die.

  Id..

         With no remaining siblings, there is no one else who can reliably stand in for Mr. Villani

  in performing the sensitive work of caring for elderly                      who require daily help

  for everything from doctors’ visits to grocery shopping. They cannot get around on their own, and

  lean heavily on Anthony. Mr. Villani’s girlfriend Holly Figaro reflects clearly that: “[a]fter

  tragically losing his sister years ago, his mother relies on him now more than ever,” as does his

  step-father. Ex. A, Holly Figaro Ltr. at 1. “[N]either parent has anyone else to care for them.”

  PSR ¶ 103.

         It is unclear how or whether Mr. Villani’s mother and step-father could manage in his

  absence. Probation recognized as much, explaining that Mr. Villani “is the primary caretaker for

  his elderly mother and stepfather,” and that “[a] sentence within the applicable guideline range
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  will cause a detrimental loss of essential caretaking to his family members for an extended period

  of time.” PSR ¶ 144. Probation thus found that Mr. Villani’s responsibilities caring for his elderly

  parents “may warrant a downward departure.” Id. The Court should impose a substantially below-

  Guidelines sentence accordingly.

         B.      Anthony’s Wife Robin Requires Care And Support From Anthony


         Nor can Mr. Villani’s wife Robin stand in for him to assist his mother and step-father.




                                            she is in no position to step in to care for Anthony’s

  impaired parents in his absence.




                                        Id. Despite their separation, Anthony “remained [Robin’s]

  closest friend,” and Robin vividly remembers how indispensable his thoughtful care and support

  were during this time:




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  Id.




                                                                                                 Robin

  explains fondly that “Anthony has now taken on the role of the ‘food police’ when he comes over

  to help me with the trash and other tasks around the house. He continues to look out for me by

  throwing away my unhealthy treats and insisting I take better care of myself.” Ex. A, Robin Villani

  Ltr. To this day, Anthony views taking care of Robin as an important part of his familial

  responsibilities.

  III.    ANTHONY HAS PRIORITIZED HIS RESPONSIBILITIES AS A FATHER
          A.      Anthony Was A Present And Influential Father When His Children Were
                  Young, And Remains A Strong Force In Their Adult Lives

          Mr. Villani is father to two adult children: Anthony Jr. is 40 years old, and Patricia is 35.

  PSR ¶ 106. Both have grown into successful, independent professionals. Mr. Villani’s son is a

  manager at a financial firm, and his daughter is a mental health counselor. See id. Both of Mr.

  Villani’s children credit much of their successes to their father’s guidance, care, and active role in

  their childhoods and educational paths.

          Mr. Villani was a present and very involved father when his children were young. Mr.

  Villani’s son recalls his childhood fondly, writing that “[b]ecause of [his father he] had a happy

  childhood, full of laughter, love, and important life lessons.” Ex. A, Anthony Villani (Jr.) Ltr. at

  1. He “was a beacon of kindness and generosity” to his children. Id. And “no matter how busy

  he was, he always made time for his family. . . . He was the kind of father who showed his love


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  not just through words but through actions. Teaching me the importance of respect, responsibility,

  and perseverance.” Id.

         Mr. Villani’s son recounts one quintessential example—“[o]ne particular lesson” that

  “stands out”—of the kind of firm, caring, and thoughtful parent Mr. Villani was when his children

  were growing up:

         When I was 14, I told my dad I wanted to quit playing sports. Instead of letting me
         walk away from something without understanding the value of commitment and
         discipline, he gave me a choice: If I didn’t want to play sports, I would need to get
         a job. And so I did just that and got my first job at an ice skating rink. That was the
         moment I learned the true meaning of work ethic and accountability, being lazy
         with no purpose or direction wouldn’t be tolerated. From that point on, I never
         stopped working. That lesson is one that I may not have fully appreciated at the
         time ended up becoming a defining moment in my life.

  Id. Mr. Villani’s son is unequivocal that his father’s example, and thoughtful guidance helped him

  achieve the success he enjoys today:

         Today, I am a director at an investment bank, leading a team of 24 people across
         two regions (US and Canada). I am one of the youngest in my role and I can say
         with certainty that this success is no accident. It is a direct result of the example my
         father set for me and the guidance he provided me throughout my life. His
         unwavering belief in hard work, personal responsibility, and resilience shaped the
         person I am today and molded me into one of the youngest directors managing an
         entire line of business for an investment bank.

  Id.

         Mr. Villani’s daughter Particia, similarly commends her father’s support and

  encouragement for her success, explaining: “My father also instilled within me characteristics as

  a child that I carried throughout my adulthood including but not limited to: kindness, caution,

  determination and confidence.” Ex. A, Patricia Villani Ltr.           When she was a child, that

  encouragement manifested as “support[ing her] interest and attended[ing] every play, concert, and

  performance [she] was involved in. [She] could count on him to meet me after the show with

  flowers and a smile of pride.” Id. But as she matured, Mr. Villani’s encouragement shifted focus


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  to her pursuit of an education and a stable career path. As Particia tells the Court: “My dad

  encouraged the importance of an education throughout the years. Because of his unwavering

  support, I finished graduate school and became the Mental Health Counselor I am today.” Id.

             Even now that they are grown, and have established, independent lives, Mr. Villani remains

  a strong support for his children. While he and Robin have been separated for decades, Robin

  attests:

             [W]e continue to function as a strong family unit, especially for our adult children,
             whom we both love dearly. Throughout this entire journey, he has consistently
             treated me with the utmost respect, valuing our shared history and the family we’ve
             built together. His actions are not from a sense of obligation but from a love and
             deep care for me and our children. For that support and compassion, I am truly
             grateful.

  Ex. A, Robin Villani Ltr.; accord Ex. A, Marguerite Ryder Ltr. (“I have known Anthony for more

  than 40 years, during which I have witnessed his unwavering commitment to his family. He is . .

  . a nurturing and supportive father to their children, Anthony and Patricia. He consistently

  prioritizes their well-being and happiness, always making time to listen to them and encouraging

  them to be their true selves.”).

             Mr. Villani’s investment in his family as a father, son, spouse, and friend are all testaments

  to his character, and his values. Mr. Villani is—and has always been—an indispensable anchor

  and support system for his parents, for Robin, and for his adult children. The Court should weigh

  heavily his family obligations in crafting a sentence that is sufficient but not greater than necessary

  for Mr. Villani. See, e.g., United States v. Adelson, 441 F. Supp. 2d 506, 513-14 (S.D.N.Y. 2006)

  (“if ever a man is to receive credit for the good he has done, and his immediate misconduct assessed

  in the context of his overall life hitherto, it should be at the moment of his sentencing, when his

  very future hangs in the balance.”).




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         B.      Mr. Villani And His Wife Provided A Refuge To Nieces And Nephews In Need
                 Of Stability

         Mr. Villani also acted as a father figure to several children of friends and distant family,

  who he and Robin took into their home when, as teenagers, they faced strife and instability at

  home. Anthony’s daughter Patricia describes: “My father has always had a generous heart.

  Throughout my childhood he has taken in many friends and cousins as his own. He provided

  stability and direction to kids who at the time did not have any.” Ex. A, Patricia Villani Ltr.

         Anthony warmly opened his home to a distant nephew, Andrew Jones, who needed a place

  to stay close to his college studies, when his parents were going through a bitter divorce.

  Anthony’s welcome, and the structure of living in a stable family home allowed his nephew to

  thrive. Andrew writes the Court that although he has “known Anthony all [his] life . . . [i]n

  [Andrew’s] earlier years, this was more a distant relationship, seeing each other only during

  holidays or family events as [he] lived about two hours away.” Ex. A, Andrew Jones Ltr. But in

  2010, Andrew “was going through some troubles at home due to [his parents going through a

  divorce and [he] decided to transfer to Berkeley College in Manhattan to complete [his] degree.”

  Id. For Andrew, that was an approximately “4 hour round trip commute daily from upstate NY

  where [he] was living to NYC to attend [his] classes.” Id. Once Anthony learned “of the struggle

  [Andrew] was facing,” he acted immediately: Andrew “received a call from him inviting me to

  stay at his house during the school weeks to alleviate some of my commuting burdens.” Id.

  Anthony’s house was not just a crash pad for Andrew; Anthony made sure Andrew felt like it was

  his home: “I was treated like another one of his children, always making sure that I had food,

  support for classes and even including me on their family vacations and never was anything

  expected in return.” Id.




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          Andrew is now a successful professional. He is “a Finance Executive with PepsiCo and

  ha[s] been with the company for 11 years.” Id. But Andrew is clear that he “would not be in the

  position [he is] in, without Anthony Villani’s presence in [his] life.” Id. As Andrew explains in

  his letter to the Court:

          If I didn’t have Anthony in my life, there is no doubt that I would have not been as
          successful due to the work ethic, family values and selflessness that Anthony had
          instilled in me. I am a very firm believer that having a positive role model in your
          life has direct impact on what road you decide to take. I am convinced that many
          of the defendants that appear before you did not have an “Anthony” in their life.

  Id.

          He appreciates that even when he struggled, Anthony “never gave up on [him] and always

  encouraged [him] to do better, to not settle and always continue to grow. It is the effort that he

  showed that [Andrew] will never forget, when he could have focused the efforts on his own life

  and not [Andrew’s].” Id. Andrew’s mother, Lisa Jones, reflects similarly how during a “chaotic”

  time in her family life, Anthony stepped in to nurture her son. According to his mother, Andrew

  “learned valuable work ethic under Anthony’s supervision;” she “attribute[s] a good portion of

  Andrew’s success to Anthony’s support and guidance.” Ex. A, Lisa Jones Ltr.

          Andrew was not the only beneficiary of such extraordinary help from Anthony. He

  similarly provided consistent guidance and care for his niece, Britany, when she was a child.

  Britany was raised by her grandparents, but it was her uncle, Anthony, who “stepped up to make

  sure [she] had structure and drive in [her] life.” Ex. A, Britany Stampfl Ltr. Anthony was a

  constant presence in Britany’s young life. Britany writes how: “Uncle Anthony would pick me up

  for the weekends, take us to dinner or movies, play arcade games with us, as well as make every

  family holiday a memorable one (like taking us snow tubing down our road on Christmas Eve

  when we had a major snow storm).” Id. Anthony was so strong a parental presence for Britany

  that she “refer[s] to him as papa, after [their] family trip to Puerto Rico that he included [Britany]
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  in to ensure [she] had a ‘normal’ upbringing as possible.” Id.; accord Ex. A, Janice Villani Ltr.

  (“He stepped in to help care for my granddaughter, ensuring she felt safe, supported, and loved

  during those uncertain times.”).

         As she has matured into a young adult, Anthony has remained “a constant source of support

  and guidance.” Ex. A, Britany Stampfl Ltr. To this day, Anthony “always makes the time to help

  [Britany] make the right decisions no matter what. His wisdom and encouragement is what . . . I

  rely on when we are facing challenging decisions.” Id. To Britany, Anthony “is the definition of

  a family man.” Id.

         Even when Anthony’s own children were young, and he had the significant responsibilities

  of caring for them, Anthony welcomed into his home friends and family who had few other

  options. See Ex. B, Lynda Natale Ltr. at 1 (“In the earlier years, I witnessed Anthony welcoming

  children into their home when his children’s friends faced hardships, demonstrating his

  compassion, generosity, and genuine care for others.”). Anthony’s son recalls:

         When I was in high school, one of my closest friends found himself in a difficult
         and unhealthy home situation. With no hesitation, my father opened our doors to
         him, welcoming him into our home as one of our own. He lived with us for two
         years, allowing him to finish high school and graduate with his friends. To this day,
         I consider him my brother, and he calls my parents “Mom” and “Dad.” My father
         didn’t have to do this, there was no obligation, no expectation but he did it because
         that’s who he is. He has always been someone who puts others before himself,
         someone who believes in giving people a chance, even when it comes [at] a
         personal sacrifice.

  Ex. A, Anthony Villani (Jr.) Ltr. at 1-2; accord Ex. A, Marguerite Ryder Ltr. (“Anthony regularly

  opens his home to family and his children’s friends, fostering a welcoming space where everyone

  feels included and valued. He takes great joy in providing a safe and enjoyable environment,

  nurturing connections and friendships among the children. Many family members, including my

  son, have lived with them and have greatly benefited from the opportunities and support that

  otherwise may not have been available.”).
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         Brian Vasquez benefitted tremendously from Anthony’s warm fatherly generosity:

         I met Anthony when I was 11 years old. Since the day I met him he treated me like
         his son.
                                              and he gave me the kind of guidance and support
         that every little boy needs his life. He taught me the values of working hard, being
         consistent, and to have drive. These are just a few things that shaped me into the
         man I am today.


                    Anthony without any hesitation took me in. He made sure I had food,
         clothes and anything else I needed so I can finish school. His home wasn’t just a
         place to sleep, it was the support I needed to gain the structure and stability to
         continue moving forward.

         He made me feel like part of the family, always including me in vacations, taking
         me to sporting events, family dinners, and If there was an event he had me there by
         his side like I was one of his own. His kindness and generosity had such an effect
         on me that I knew that these are qualities that I want for myself. That’s who he is,
         someone who quietly steps up when someone is in need, and never expects anything
         in return.

  Ex. B, Brian Vasquez Ltr. at 1.

         So too, for Robbie Yuen, a close friend of his son, Anthony filled a real void when Robbie

  was young and his “parents were busy working in the restaurant business and had very little time

  for the extracurricular activities and fun family moments.” Ex. B, Robbie Yuen Ltr. When he was

  a child, “Anthony was a father figure to [Robbie],” and for Robbie, Anthony’s house “was a second

  home.” Ex. B, Robbie Yuen Ltr. Robbie reflects:

         Growing up, I spent many days and nights with the Villani’s. . . . I felt as though I
         was a part of the family.

         ...

         Anthony accepted me with ease into his family life and I will be forever grateful.
         As a young boy, Anthony would take his son and I to the arcades, movies, dinners,
         etc. He spent time with us, showed us right and wrong, and to this day I instill some
         of those teachings onto my children.

         ...




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         Growing up around Anthony, I always felt safe and valued. He has a fun and playful
         side. He always joked, played pranks, and made everyone around him feel happy
         and at ease. I knew nothing but care, love, and laughter from Anthony and he always
         treated me that way from my childhood, through my teenage years and into
         adulthood. He invited me into his home, trusted me with his family, and cared for
         me as if I was one of his children.

  Ex. B, Robbie Yuen Ltr.

         Responsibility, generosity, and warmth are Anthony’s hallmarks—as they have always

  been. So many family members and friends have benefitted from Anthony’s thoughtful nature.

  When a distant cousin, niece, nephew or family friend needed a responsible adult for guidance,

  Anthony instinctively filled the void. A close friend, Lynda Natale, wondered, when Anthony

  would arrange activities for a passel of kids in addition to his own, “how Anthony was able to

  manage with all those kids,” the answer Robin gave was simple: “someone had to care for them,

  and that was what Anthony did.” Ex. B, Lynda Natale Ltr. at 1.

         C.      Anthony Is The First Line Of Support For His Family And Friends

         Anthony’s friends and extended family know that he is always first to respond when they’re

  in need of help, comfort during a health crisis, or just a caring word in a difficult situation. And

  they rely on him for that.

         Anthony was truly a lifeline for his nephew Anthony Smith,

                                                                                  . Ex. A, Anthony

  Smith Ltr.




                                                           He gave me confidence and always
         said the right things that made me feel better.

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                                   Always including me in everything.

                      Seriously he is like a father figure to me.                         , but
            my uncle was. I am forever grateful to him.

  Id.



                                          Id.; see also Ex. B, John Luppo Ltr. at 1 (“I spent 30 years

  working on Wall Street,



                                                  . He never judged me; instead, he encouraged me and

  believed in my ability to turn my life around . . . . Anthony has always believed in second chances,

  and I am living proof of the impact that belief can have on someone’s life.”).

            Anthony’s cousin, Marie Mandarino, described how throughout their lives, when her

  family encountered medical emergencies, Anthony was always the first to help. For example,

  when Marie’s                                                                                    her

  cousin “Anthony helped watch [her] children so that [she] could focus on providing [her] husband

  the support he needed to live.” Ex. A, Marie Mandarino Ltr. And when Marie herself “

                                                            ,” dependably, Anthony was there for her:

  “Anthony was able to visit me many times. He brought the nursing staff cookies. This lightened

  the mood and helped the days go faster and be less painful.” Id.

            Anthony was similar present for James Figaro’s family—the brother of Anthony’s

  girlfriend Holly—when they encountered stress and crisis. When James’ “oldest son,” who was

  five years old at the time, was “



        . Ex. B, James Figaro Ltr. at 1. During that difficult time:


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         Without hesitation, Anthony was there every single day. Not only did he visit, but
         he spent several hours each day by my son’s side, bringing toys, coloring books,
         ice cream and milk shakes. Most son looked forward to his visits so much he would
         ask, “when is Uncle Anthony coming?” It was the highlight of his day. Anthony’s
         visits were also very helpful to me and Angelo’s mom. It was a much needed mental
         break for us, a time to step out, get a bite to eat and decompress for a few moments.
         That kind of unwavering support and love is rare, and it speaks volumes of the type
         of person he is.

  Id; see also id. at 1-2 (“I am a divorced single father, my divorce was the most difficult challenge

  I have ever faced. From day one Anthony was there for me. He was never more than a phone call

  away. He opened his home to me and my four children before I had a place of my own and still

  continues to do so. He has made sure we never felt alone.”).

         Anthony’s lifelong friend, Gina Ferri, has unfortunately come to rely on Anthony to help

  her through                                                      Knowing that he would be there for

  her as only a close friend can, Anthony “was among the few [Gina] turned to for support.” Ex. B,

  Gina Ferri Ltr. at 1 (“I knew he could lift me from despair to a mindset of strength and positivity.”).

  As he always does, Anthony has come through for Gina in her time of need: “Through regular

  calls and texts, he checks on me, reminding me of my resilience and offering encouragement on

  my darkest days. He senses my struggles-sometimes just from my voice during a casual

  conversation-and responds with words that renew my spirit.” Id.; see also Ex. A, Janice Villani

  Ltr. (during the pandemic, Anthony looked after his step-mother, running errands for her, and

  “leav[ing] hot meals at the door” so she “wouldn’t have to put [her] health at risk”); Ex. B, James

  Figaro Ltr. at 1 (“One of the earliest examples of his character that stands out to me is how he

  cared for my Grandmother in her final years. She passed away in December of 2017 at the age of

  96, but before then, Anthony would frequently stop by to check on her. He never had to, he just

  wanted to. He would always ask if she needed groceries and would always take the time to sit and

  talk with her. This simple kindness meant the world to both her and my family”).


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         Anthony’s family and friends rely on him, because they know he will always be there when

  they need him most—a rare trait. “Anthony’s presence enriches the lives of his entire family, who

  thrive with him in their lives.” Ex. B, James Figaro Ltr. at 1-2

  IV.    MR. VILLANI FIRST LEARNED OF THE INVESTIGATION INTO THIS CASE
         NEARLY FIVE YEARS AGO: HE HAS REORIENTED HIS LIFE SINCE
         Mr. Villani was arrested on September 14, 2022, but for him, this case began almost two

  years earlier, in December 2020, when agents executed a search warrant on his home. In the last

  nearly five years, Mr. Villani has taken time to reflect, and regret the decisions he made that

  resulted in this case, and brought real instability in his life. Mr. Villani has shared his remorse

  with his son, who wrote the Court:

         Your Honor, I know my father deeply regrets the decisions that brought him before
         you. That regret is not just for himself but for the impact this has had on our family.
         He has always been a man who takes responsibility for his actions, and I believe
         his remorse is sincere. My father has always been there for me, and despite the
         challenges we face now, I know he will continue to be the guiding force in my life.

  Ex. A, Anthony Villani (Jr.) Ltr. at 2; accord Ex. A, Holly Figaro Ltr. at 2 (“Anthony feels deep

  remorse about his situation, but he never shows self-pity or complains. He understands how his

  actions have affected those around him and takes full responsibility.”).

         And Mr. Villani has used the last five years productively. He has moved past his offense

  conduct, and refocused all of his attention on his local franchise business in Westchester. 1 See Ex.

  A, Holly Figaro Ltr. at 2 (“He works hard every single day, often from morning until night, and

  checks in on his store even after coming home. He’s proud of the business he’s built and deeply

  committed to it.”). But because of this case, those businesses are at risk—they are part of a

  nationwide franchise, and corporate headquarters may not permit Mr. Villani to continue the


  1
    The government has never traced any funds from the gambling conduct to either of Mr. Villani’s
  franchise locations, and there is no other evidence produced in Rule 16 discovery that Mr. Villani
  otherwise used gambling funds for those stores.
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  businesses he successfully started, and established nearly a decade ago. That has cast a pall of

  uncertainty on Mr. Villani’s life, and his means of supporting himself.

         Nonetheless, Mr. Villani has continued to use his stores to help lift up family, friends, and

  neighbors who have needed a stable job—particularly during transition moments in their lives.

  Anthony’s cousin, John Mandarino, who now has an important management role in Anthony’s

  stores, began working for Anthony when he was at loose ends after college. When he graduated

  from “college in Albany, New York, [John] was feeling lost and was working odd jobs,” trying to

  “figured out [his] life.” Ex. A, John Mandarino Ltr. At that moment, when he needed it most,

  John “received a call from Anthony asking [him] if [he] was interested in coming to work with

  him in his new restaurant.” Id. John was “[a]t first. . . hesitant,” but working with Anthony

  changed John’s trajectory:

         For the past five years of working with Anthony, I have learned to be a successful
         entrepreneur and how to properly run a business. I started as a regular team member
         for Anthony and five years later, I now have signed a franchise agreement for my
         third [store]. Without Anthony's guidance, I would have never had this opportunity
         to be successful in the restaurant business. I am truly blessed to have Anthony as
         family and a business partner. He ultimately continued, and still continues, to be
         that same person that I looked up to as a child.

  Id.

         Britany Stampfl had a similar experience working for her uncle. When she struggled

  during uncertain transition times in her life, she was able to find stability working for Anthony.

  As her employer, her “Uncle Anthony taught [her] the importance of being independent” and those

  lessons and professional experiences with Anthony were “instrumental” in pushing her to “go[] to

  college to become a special education teacher.” Ex. A, Britany Stampfl Ltr. While she worked

  for him, Anthony “supported [Britany] anyway he could, encouraged [her], and always shared with

  me how proud he was of [her] during the hard times.” Id.



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         For his long term employees Anthony is also a dream boss. Lucia Esposita who has worked

  for Anthony since 2017 is clear: “I can definitely say Anthony is a boss that you will never find in

  any job or work environment.” Ex. B, Lucia Esposita Ltr. at 1-2. He is considerate of her needs,

  and patient when she has a challenge learning something new. Id. (“he made it so easy for me to

  actually enjoy it. The desperate times I needed off of work or couldn’t make it he always got me

  covered in seconds even if no one was available. His jokes and sense of humor carried me through

  most of my shifts. . . . He gave me advice and drilled most of the biggest lessons in my head that

  I still carry to this day.”). Most importantly, Anthony shows Lucia that she is important to him,

  beyond the hours she works in his business—Anthony is not just her boss, but a friend that Lucia

  can count on. Lucia explains:

         [I]t was the days I was struggling and had a lot going on and he would be one of
         the first people to notice if I came into work. He sees me when I’m on top of the
         world and when I’m at my worst when I am crying to him. He wasn’t always there
         on the good days, most importantly the worst days and I think that is such a
         beautiful thing to have someone that is always in your corner, routing for you. He
         was patient when I needed guidance, wise when I needed advice, and enthusiastic
         about even the smallest victories. . . . His generosity and willingness to help others
         have been a consistent source of inspiration, and I believe his positive impact
         extends far beyond just our friendship.

  Id.

         Although the last five years since the search of Anthony’s home have been stressful, he has

  used that time to focus on what’s important: his family, his friends, his lawful business, and his

  employees who depend on him. These last five years are a testament to the life Anthony is working

  to build for his future—once this case is long behind him. A harsh Guidelines sentence would not

  just derail Anthony’s progress rebuilding his life, it would be counterproductive: a lengthy

  sentence would impose a great cost on Mr. Villani’s family, with no one to care for his elderly

  mother and step-father whose health continues to deteriorate. See supra § II. A substantially

  below-Guidelines sentence is thus appropriate for Mr. Villani.
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  V.     MR. VILLANI’S CORRECT GUIDELINES CALCULATION IS A LEVEL 18, IN
         ACCORDANCE WITH THE PLEA AGREEMENT
         Mr. Villani’s plea agreement properly calculated his sentencing Guidelines for

  Racketeering Acts 1 and 2 as follows:

         Base Offense Level(§§ 2El.l(a)(l), 2E3.l):           19

         Role as Organizer or Leader (§ 3Bl .l(a)):           +4

         Global Resolution (§ 5K2.0):                         -2

         Total (before acceptance of responsibility):         21

         Acceptance of Responsibility (§§ 3El. l (a), (b)):   -3

         Total Adjusted Offense Level:                        18

  See Plea Agr. ¶ 2. That is accurate.

         Probation’s Guidelines calculation, however, included a computation for Racketeering Act

  #3: Attempted State Law Extortion, which Mr. Villani did not plead to, and which is not supported

  by a preponderance of the evidence. See PSR ¶¶ 46-48.

         Indeed, while the PSR quotes consensual recordings attributed to Mr. Villani in addressing

  Racketeering Act #3, see PSR ¶ 47, they simply do not support finding extortion by a

  preponderance of the evidence. See United States v. Vaughn, 430 F.3d 518, 525 (2d Cir. 2005)

  (“district courts’ authority to determine sentencing factors by a preponderance of the evidence

  endures”).2

         Violence, or threats of violence are notably absent from the record in this case. As an

  initial matter, although the CW dutifully recorded conversations with Mr. Villani for


  2
    A draft transcript of the October 10, 2020 consensually-recorded conversation is attached as
  Exhibit C. Because the consensual recording from October 10, 2020 forms the basis of Probation’s
  discussion of Racketeering Act #3, the attached transcript provides the Court with the evidence
  necessary to adjudicate any issue regarding whether Racketeering Act #3 should impact Mr.
  Villani’s sentencing Guidelines. No Fatico hearing is required.
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  approximately a year, the PSR points to snippets of just two conversations. Even those, however,

  contain not a whiff of violence—actual or threatened.

         As the PSR recognizes, the context for these recordings is that “




                                                                                      Throughout the

  recording, however, there is neither violence, nor talk of violence. Indeed, after Mr. Villani learns

  of the CW’s apparent theft, the second half of the conversation is largely business as usual. Mr.

  Villani and the CHS calmly discuss directions to a meeting spot in Yonkers, New York. That is

  hardly a conversation the CHS would have continued were he afraid of impending violence. See

  Ex. C. Because neither threats nor violence are reflected in the recording, the attempted extortion

  charge is not supported by a preponderance of the evidence.

         Mr. Villani’s longstanding relationship with the CW also provides important context for

  this conversation: in the several decades that Mr. Villani knew the CW he had never threatened

  the CW or anyone else with violence; there is no evidence to the contrary. The notion that he would

  suddenly resort to violence and attempted extortion, when there is no indication he had ever done

  so previously, strains credulity—that is not proof by a preponderance of the evidence.

         Moreover, while the PSR describes as a threat Mr. Villani’s April 27, 2020 statement that

                                                                              it simply is not. In the

  intervening six months between that April 27 recording and the October 10, 2020 consensual

  recording, there is not a whiff of evidence of threats or violence from Mr. Villani directed at the



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  CW or anyone else. See PSR ¶¶ 47-48. It is implausible that Mr. Villani would credibly threaten

  the CW in April, and do nothing for six months, while they worked together frequently. Because

  Racketeering Act 3 charged in the Indictment is not supported by a preponderance of the evidence,

  it should be stricken from the PSR and should not impact Mr. Villani’s Guidelines calculation.

  See United States v. Salazar, 489 F.3d 555, 558 (2d Cir. 2007) (“the district court was required to

  use the preponderance of the evidence standard . . . for Guidelines calculation purposes”).

  VI.    CONCLUSION
         For the reasons stated above, Defendant Anthony Villani respectfully requests that this

  Court impose a substantially below-Guidelines sentence, which would be sufficient but not greater

  than necessary to accomplish the objectives set forth in 18 U.S.C. § 3553(a).

  Dated: June 10, 2025                  Respectfully submitted,
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